Case 2:21-cv-05208-JAK-JC Document 15-1 Filed 09/04/21 Page 1 of 2 Page ID #:266




                        EXHIBIT A
Case 2:21-cv-05208-JAK-JC Document 15-1 Filed 09/04/21 Page 2 of 2 Page ID #:267



 (l)     lack of candor and cooperation to the victims of the misconduct or to the State Bar during
         disciplinary investigations or proceedings;

 (m)     failure to make restitution; or

 (n)     high level of vulnerability of the victim.

 Eff. January 1, 1986. Revised: January 1, 2007; January 1, 2014; July 1, 2015.

 1.6 MITIGATING CIRCUMSTANCES

 A lawyer must establish mitigating circumstances by clear and convincing evidence. Mitigating
 circumstances may include:

 (a)    absence of any prior record of discipline over many years of practice coupled with present
        misconduct, which is not likely to recur;

 (b)    good faith belief that is honestly held and objectively reasonable;

 (c)    lack of harm to the client, the public, or the administration of justice;

 (d)    extreme emotional difficulties or physical or mental disabilities suffered by the lawyer at
        the time of the misconduct and established by expert testimony as directly responsible for
        the misconduct, provided that such difficulties or disabilities were not the product of any
        illegal conduct by the lawyer, such as illegal drug or substance abuse, and the lawyer
        established by clear and convincing evidence that the difficulties or disabilities no longer
        pose a risk that the lawyer will commit misconduct;

 (e)    spontaneous candor and cooperation displayed to the victims of the misconduct or to the
        State Bar;

 (f)    extraordinary good character attested to by a wide range of references in the legal and
        general communities, who are aware of the full extent of the misconduct;

 (g)    prompt objective steps, demonstrating spontaneous remorse and recognition of the
        wrongdoing and timely atonement;

 (h)    remoteness in time of the misconduct and subsequent rehabilitation;

 (i)    excessive delay by the State Bar in conducting disciplinary proceedings causing prejudice
        to the lawyer; or

 (j)     restitution was made without the threat or force of administrative, disciplinary, civil or
         criminal proceedings.
Eff. January 1, 1986. Revised: January 1, 2014; July 1, 2015; January 25, 2019.

                                                      185
